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 4
     Attorney for Defendant
 5   HONG BI ZENG
 6
 7
 8                              UNITED STATES DISTRICT COURT
 9                              EASTERN DISTRICT OF CALIFORNIA
10
11                                          )
     UNITED STATES OF AMERICA,              )                Criminal No. 2:06-cr-0390 EJG
12                                          )
                Plaintiff,                  )                AMENDED STIPULATION
13                                          )                AND ORDER TO CONTINUE
           v.                               )                JUNE 8, 2007 STATUS
14                                          )                CONFERENCE AND EXCLUDE
     ZHI HUI XUE, et. al.,                  )                TIME
15                                          )
                                            )
16                                          )
                Defendants.                 )
17   _______________________________________)
18
            IT IS HEREBY STIPULATED by and between Assistant United States Attorney,
19
     Robert M. Twiss, counsel for the plaintiff, and below signed counsel for each of the
20
     defendants in the above mentioned case, that the status conference now scheduled for June
21
     8, 2007 at 10:00 a.m., be vacated, and the matter continued for further status conference on
22
     August 24, 2007 at 10:00 a.m., or as soon thereafter as is convenient for the Court.
23
            This continuance is sought by the defense in order to permit further review of
24
     discovery, continuation of on-going investigation, consultation with the defendants, and
25
     availability of counsel.
26
            No party objects to the requested continuance.
27
            The court interpreter Yolanda Riley Portal has been notified and has indicated that
28
     August 24, 2007 is an available date for the interpreter’s office.
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 1            IT IS FURTHER STIPULATED that time for trial under the Speedy Trial Act
 2   continue to be excluded from June 8, 2007 through August 24, 2007, pursuant to 18 U.S.C.
 3   §3161(h)(8)(A) & (B)(ii) and (iv), Local Codes T-2 and T-4.
 4            IT IS SO STIPULATED.
 5
     Dated:        06/07 /2007                       ________/s/_______________
 6                                                   ROBERT M. TWISS
                                                     Counsel for Plaintiff
 7
 8
     Dated:        06/07 /2007                       _________/s/ ______________
 9                                                   JOHN M. RUNFOLA
                                                     Attorney for HONG BI ZENG
10
11
     Dated:        06/07 /2007                       ________/s/________________
12                                                   DOUGLAS HORNGRAD
                                                     Counsel for ZHI HUI XUE
13
14
     Dated:        06/07/2007                                  /s/
15                                                   DOUGLAS RAPPAPORT
                                                     Counsel for JIA ZHOU
16
17
     Dated:        06/07/2007                                  /s/
18                                                   ANTHONY BRASS
                                                     Counsel for TERRY TONG
19
20                                          ORDER
21            IT IS SO ORDERED
22
     Dated: June 7, 2007                             /s/ Edward J. Garcia
23                                                   HON. EDWARD J. GARCIA
                                                     Senior United States District Court Judge
24
25
26
27
28

     Stipulation and Order                     -2-
